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                        NOTICE OF OBJECTION TO CONFIRMATION

       U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR BANC OF AMERICA
FUNDING CORPORATION MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-
8T2 has filed papers with the Court to object to the Confirmation of the Chapter 13 Plan.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)

       If you do not want the Court to object to the Confirmation of the Chapter 13 Plan, or if you
want the Court to consider your views on the Objection, then on or before, you or your attorney
must:

               1.     File with the Court an answer, explaining your position at:
                                                 Clerk
                                       U.S. Bankruptcy Court
                                           402 E. State Street
                                          Trenton, NJ 08608

If you mail your response to the Court for filing, you must mail it early enough so that the Court
will receive it on or before the date stated above.

                                   You must also mail a copy to:

Phelan Hallinan Diamond & Jones, PC           Albert Russo, Trustee
400 Fellowship Road, Suite 100                CN4853
Mt. Laurel, NJ 08054                          Trenton, NJ 08650



               2.     Attend the hearing scheduled to be held on 08/15/2017 in the TRENTON
                      Bankruptcy Court, at the following address:
                                                    U.S. Bankruptcy Court
                                                      402 E. State Street
                                                      Trenton, NJ 08608


       If you or your attorney do not make these steps, the Court may decide that you do not
oppose the relief sought in the Objection and may enter an Order granting that relief.

Date: July 21, 2017
                                             /s/ James P. Shay
                                             James P. Shay, Esq.
                                             Phelan Hallinan Diamond & Jones, PC
                                             400 Fellowship Road, Suite 100
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                                    Mt. Laurel, NJ 08054
                                    Tel: 856-813-5500 Ext. 41326
                                    Fax: 856-813-5501
                                    Email: james.shay@phelanhallinan.com
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File No. 793711
Phelan Hallinan Diamond & Jones, PC
400 Fellowship Road
Mt. Laurel, NJ 08054
856-813-5500
FAX Number 856-813-5501
U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR BANC OF AMERICA FUNDING
CORPORATION MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-8T2


In Re:                                         UNITED STATES BANKRUPTCY COURT
         THOMAS M. SABO                        FOR THE DISTRICT OF NEW JERSEY
         JOANN SABO                            TRENTON VICINAGE
         A/K/A JOANN GEADA
                                               Chapter 13

                                               Case No. 17-19534 - MBK
Debtors
                                               Hearing Date: 08/15/2017


         The undersigned, Phelan Hallinan Diamond & Jones, PC, attorneys for Secured Creditor,
U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR BANC OF AMERICA FUNDING
CORPORATION MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-8T2, the
holder of a Mortgage on debtors residence located at 1 GARRETSON DRIVE, FRANKLIN
PARK, NJ 08823-1423 hereby objects to the Confirmation of the debtors proposed Chapter 13 Plan
on the following grounds:


   1. On June 29, 2017, Movant filed a Proof of Claim reflecting a total secured claim in the

         amount of $710,598.22.

   2. Debtor’s Chapter 13 Plan proposes to surrender the property in full satisfaction of loan.

   3. Movant objects to the inclusion of that language in the event Movant chooses to pursue a

         deficiency action under state law. Movant requests that language be stricken.
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   4. Debtor does not have the right to surrender in full satisfaction without the consent of the

       mortgage company. Since consent is not provided, confirmation of the Plan should be

       denied.


       WHEREFORE, U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR BANC OF
AMERICA FUNDING CORPORATION MORTGAGE PASS-THROUGH CERTIFICATES,
SERIES 2006-8T2 respectfully requests that the Confirmation of Debtors Plan be denied.
                                           /s/ James P. Shay
                                           James P. Shay, Esq.
                                           Phelan Hallinan Diamond & Jones, PC
                                           400 Fellowship Road, Suite 100
                                           Mt. Laurel, NJ 08054
                                           Tel: 856-813-5500 Ext. 41326
                                           Fax: 856-813-5501
                                           Email: james.shay@phelanhallinan.com

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  UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

793711
PHELAN HALLINAN DIAMOND & JONES, PC
400 Fellowship Road, Suite 100
Mt. Laurel, NJ 08054
856-813-5500
Attorneys for U.S. BANK NATIONAL
ASSOCIATION, AS TRUSTEE FOR BANC OF
AMERICA FUNDING CORPORATION
MORTGAGE PASS-THROUGH CERTIFICATES,
SERIES 2006-8T2
  In Re:                                                Case No: 17-19534 - MBK

THOMAS M. SABO                                          Hearing Date: ______________
JOANN D. SABO
A/K/A JOANN GEADA                                       Judge: MICHAEL B KAPLAN

                                                        Chapter: 13

                       CERTIFICATION OF SERVICE

   1.    I, Kimberly Wilson:

            represent the ______________________ in the above-captioned matter.

            am the secretary/paralegal for Phelan Hallinan Diamond & Jones, PC,
         who represents U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE
         FOR BANC OF AMERICA FUNDING CORPORATION MORTGAGE
         PASS-THROUGH CERTIFICATES, SERIES 2006-8T2 in the above
         captioned matter.

           am the _________________ in the above case and am representing
         myself.

   2.    On July 21, 2017 I sent a copy of the following pleadings and/or documents
         to the parties listed below:

         Objection to Plan

   3.    I hereby certify under penalty of perjury that the above documents were sent
         using the mode of service indicated.
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Dated: July 21, 2017                                  /s/ Kimberly Wilson
                                                          Kimberly Wilson


   Name and Address of Party Served              Relationship of                  Mode of Service
                                                Party to the Case
                                                                         Hand-delivered

                                                                         Regular mail

 THOMAS M. SABO                                                          Certified mail/RR
 1 GARRETSON DRIVE
                                       Debtor
 FRANKLIN PARK, NJ 08823-1423                                            E-mail

                                                                         Notice of Electronic Filing (NEF)

                                                                         Other__________________
                                                                       (as authorized by the court *)
                                                                         Hand-delivered

                                                                         Regular mail

 JOANN D. SABO                                                           Certified mail/RR
 1 GARRETSON DRIVE
                                       Debtor
 FRANKLIN PARK, NJ 08823-1423                                            E-mail

                                                                         Notice of Electronic Filing (NEF)

                                                                         Other__________________
                                                                       (as authorized by the court *)
                                                                         Hand-delivered

                                                                         Regular mail

 YAKOV RUDIKH, Esquire                                                   Certified mail/RR
 223 Rt. 18 South                      Debtor’s
 SUITE 108                             Attorney                          E-mail
 E BRUNSWICK, NJ 08816
                                                                         Notice of Electronic Filing (NEF)

                                                                         Other__________________
                                                                       (as authorized by the court *)
                                                                         Hand-delivered

                                                                         Regular Mail
 Albert Russo, Trustee
 CN4853                                Trustee                           Certified mail/RR
 Trenton, NJ 08650
                                                                         E-mail

                                                                         Notice of Electronic Filing (NEF)




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                                                                               Other__________________
                                                                            (as authorized by the court *)
     * May account for service by fax or other means as authorized by the court through the issuance of an Order
     Shortening Time.




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